            Case 3:16-cv-00228-MEM Document 34 Filed 08/23/16 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF PENNSYLVANIA

PAMELA WAGNER,                                                :

         Plaintiff                                            :         CIVIL ACTION NO. 3:16-0228

         v.                                                   :              (JUDGE MANNION)

H. JAMES RIPPON ENTERPRISES :
d/b/a MCDONALD’S
                            :
      Defendant

                                                     ORDER


         The Mediator has reported to the court that this case has been resolved

and settled, IT IS ORDERED THAT this action be dismissed without costs

and without prejudice to the right of either party upon good cause shown to

apply for reinstatement of the action within sixty (60) days of the date of this

order if settlement has not been consummated.




                                                              s/ Malachy E. Mannion
                                                              MALACHY E. MANNION
                                                              United States District Judge


Dated:         August 23, 2016
O:\Mannion\shared\ORDERS - DJ\CIVIL ORDERS\2016 ORDERS\16-0228-09.wpd
